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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA
RONALD REAGAN FEDERAL BUILDING & U.S, COURTHOUSE
228 WALNUT STREET, P.O. BOX 11469
HARRISBURG, PA 17101

 

JENNIFER P. WILSON TEL (717) 221-3970
JUDGE

March 2, 2022

The Honorable Michael A. Chagares, Chief Judge
United States Court of Appeals for the Third Circuit
Via CM/ECEF and Email

Re: Toth, Jr., et al. v. Chapman, et al., 1:22-CV-00208
Dear Chief Judge Chagares:

Iam writing to request that you designate two other judges to convene a
three-judge district court in the above-captioned action pursuant to 28 U.S.C.

§ 2284 because this action challenges “the constitutionality of the apportionment of
congressional districts” in Pennsylvania. (See Docs. 3, 49.) Thank you.

   
 

ifer P. Wilson
ed States District Court Judge
